Case 3:20-cv-00389-DPM-JJV Document 7 Filed 12/30/20 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

NORTHERN DIVISION
CLAYTON M. JACKSON
Reg. #02682-509 PLAINTIFF
V. No. 3:20-cv-389-DPM-JJV

BRENT COX, Jail Administrator,

Greene County Jail; JAMES GLENN,

Sergeant, Greene County Jail; CODY

KELLEY, Detention Officer, Greene

County Jail; and JEREMY HAMMONS,

USMS, aka Robert Jeremy Hammons DEFENDANTS

ORDER

Objection, Doc. 5, overruled. Magistrate Judge Volpe did not
clearly err or misapply the law in screening Jackson’s complaint, Doc. 3.
FED. R. Civ. P. 72(a). Further, though Jackson says in his objection that
he can prove a failure to train or supervise, he didn’t include that claim
in his complaint. If Jackson wants to pursue this case, then he must
submit an amended complaint that complies with the 4 December 2020
Order. Amended complaint due by 15 January 2021.

So Ordered.

IVA sled g
D.P. Marshall Jr.
United States District Judge

30 Mslerrsy 2020

 
